                                                                United States District Court
                                                                  Southern District of Texas

                                                                     ENTERED
                                                                     June 13, 2022
                                                                  Nathan Ochsner, Clerk

            UNITED STATES DISTRICT COURT
             SOUTHERN DISTRICT OF TEXAS
                 HOUSTON DIVISION

GEOLINK LIMITED     § CIVIL ACTION NO.
(U.K.),             § 4:21-cv-00803
         Plaintiff, §
                    §
                    §
    vs.             § JUDGE CHARLES ESKRIDGE
                    §
                    §
MAZAHAR             §
MAHMOOD, et al,     §
        Defendants. §

                ORDER ADOPTING
         MEMORANDUM AND RECOMMENDATION

    Pending is a Memorandum and Recommendation by
Magistrate Judge Sam S. Sheldon dated March 18, 2022.
Dkt 68. Also pending are objections filed by Plaintiff
Geolink Limited (U.K.). Dkt 69.
    The district court reviews de novo those conclusions of
a magistrate judge to which a party has specifically
objected. See FRCP 72(b)(3) & 28 USC § 636(b)(1)(C); see
also United States v Wilson, 864 F2d 1219, 1221 (5th Cir
1989, per curiam). The district court may accept any other
portions to which there’s no objection if satisfied that no
clear error appears on the face of the record. See Guillory v
PPG Industries Inc, 434 F3d 303, 308 (5th Cir 2005), citing
Douglass v United Services Automobile Association, 79 F3d
1415, 1430 (5th Cir 1996, en banc); see also FRCP 72(b)
advisory committee note (1983).
    Upon de novo review and determination, Plaintiff’s
objections lack merit. No clear error otherwise appears
upon review and consideration of the Memorandum and
Recommendation, the record, and the applicable law.
    The objections by Plaintiff Geolink Limited (U.K.) to
the Memorandum and Recommendation of the Magistrate
Judge are OVERRULED. Dkt 69.
    The Memorandum and Recommendation of the
Magistrate Judge is ADOPTED as the Memorandum and
Order of this Court. Dkt 68.
    The joint motion by Defendants to dismiss Plaintiff’s
amended complaint is GRANTED. Dkt 33.
    The motions by Defendants to dismiss Plaintiff’s
original complaint are DENIED AS MOOT. Dkts 22 & 31.
    The motions by Plaintiff seeking leave to amend and to
supplement are DENIED. Dkts 42 & 54.
    All claims asserted by Plaintiff Geolink Limited (U.K.)
are DISMISSED WITH PREJUDICE.
    A final judgment will enter separately.
    SO ORDERED.
   Signed on June 13, 2022, at Houston, Texas.


                          ___________________________
                          Hon. Charles Eskridge
                          United States District Judge




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